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EXHIBIT A

 

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

 

 

x
KELLY PRICE;
DECLARATION OF
Plaintiffs, ASSISTANT DISTRICT
ATTORNEY CHRISTOPHER
-against- RYAN
THE CITY OF NEW YORK, et al.,
Defendants 1t CIV: 2141 GK)
Pe
CHRISTOPHER RYAN, declares pursuant to 28 ULS.C. §1746, under penalty of

petjury, that the following is true and correct:

1.

I declare under penalty of petjury that the foregoing is true an

Wes bbe , New York on April (9), 2017.

Lam an Agsistant District Attorney at the New York County District
Attomey’s. Office (“DANY”), and cutrently serve as the Bureau Chief of the
Violent Criminal Enterprise Unit (“VCEU”), 4 position I have held since

2010.

In 2011, L-oversaw-an investigation and prosecution of a narcotics sales and
illegal firearms possession conspitacy on West 137" Street, between Lenox
and Seventh Avenues in New York County, known as the “137° Street
Crew.” Several DANY staff, including attotneys, investigative arialysts, and
othets worked on this matter. The case involved multiple grand jury

presentations.

As the lead attotney on this case I am fatniliar|with the origins of the

 

ses, that served as its

evidentiaty foundations. As such, I affirm tha Raheem Powell was not a

investigation, and the sources, including mk

cooperating witness for DANY, nor did he
to the prosecution of the 137° Street Crew.

 

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tify in any proceedings related

d cortect. Executed in

 
